Case 1:17-cv-00423-Mi&k

 
 

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In the Gnited States Court of Federal Clauns
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DALE JOHN TOPPING, * Lhe. fp Je ke
x FEDERAL. (Aiki
Plaintiff,
* No. 17-423C
Vv. * Filed: August 11, 2017
*
UNITED STATES, x
Defendant. :
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ORDER

The court is in receipt of the parties’ August 9, 2017 joint stipulation of dismissal
with prejudice of the above-captioned case. Pursuant to Rule 41(a)(4}(A)(ii) of the Rules
of the United States Court of Federal Claims (2017), this court ORDERS that this case
be DISMISSED with prejudice, with each party to bear its own expenses, costs and
attorney fees.

IT 1S SO ORDERED.

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Lf. LAL Lm

MARIAN BLANK HORN
Judge
